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                            Exhibit 18
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                                                        ADVOCATING for
                                                        DIVERSITY & EXCELLENCE
                                                        at Thomas Jefferson High School
                                                        for Science and Technology
                                                          CoalitionforTJ




                 Coalition for TJ
     "Second-Look Semifinalist" Alternative to
                the Merit Lottery     COALITION                                           14
                                                                               10-18-21
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    Introduction                                                               RPRCRR


    The Coalition for TJ is composed of parents, students, and community members
    advocating for diversity and excellence at Thomas Jefferson High School for Science
    and Technology ("TJHSST") We understand that Gov. Ralph Northam has issued a
    budget mandate that "each academic year, governor's schools shall set diversity goals
    for its student body and faculty, and develop a plan to meet said goals in collaboration
    with community partners at public meetings."

    We are extremely disappointed at the so-called "merit lottery" proposed by Fairfax
    County Superintendent Dr. Scott Brabrand for admissions to TJHSST.

    Dr. Brabrand's plan fails to serve the interests of underserved communities in Fairfax
    County (the chief beneficiary of the proposal will be white students, who could approach
    50% of TJHSST enrollment), and it fails to preserve the academic excellence of TJHSST.
    It is a plan plagued by self-contradictions.
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     Selection of the lottery pool is hardly based on "merit" with only a GPA requirement,
     Algebra 1 enrollment, and an essay. On the contrary, selection of matriculated students is
     based on a "lottery."

     The superintendent insists that the current TJ admission process is missing the "true
     talent" of Fairfax County Public Schools. We believe that this lottery plan will miss the
     BEST talent in Fairfax County. Moreover, modeling data prepared by data scientists in
     the Coalition for TJ reveals that this plan is unlikely to improve the representation of the
     underserved groups. Instead, it deprives the deserved opportunities of the most qualified
     STEM students in all groups.


     Solutions

    We hereby offer a concrete proposal and several recommendations to materially
    increase the numbers of underrepresented minorities at TJHSST, while maintaining the
    excellence of education at TJHSST:

    The goal of TJHSST, a Governor's School, is to promote STEM education in Fairfax
    County and surrounding jurisdictions. TJHSST aspires to create future science and
    technology leaders, a job it does extraordinarily well thanks to 35 years of sustained
    efforts by all stakeholders. The No. 1 rule of a fair screening plan is that it must not
    inadvertently screen out potential top candidates for the program. The lottery plan will
    randomly screen out the most talented STEM students because the lottery system is not
    designed to find the best STEM students     --   it is designed to achieve "fairness". By
    depriving TJHSST of these top STEM students, it will undermine the long-standing
    tradition of academic excellence of TJHSST. In return, the merit lottery offers a false
    impression of "fairness" while penalizing students (including those from underserved
    groups) who work hard and have great passions, depriving them of deserved
    opportunities.

    The goal of a diversity plan should be to MAXIMIZE the potential of each eligible student
    who is interested in a STEM-focused education. A successful diversity plan should
    include:

        1. A well-designed and tested admissions program;
        2. Appropriate recruitment activities uniquely designed for the program;
        3. An evaluation of the admission process;
        4. Targeted recruitment activities;
        5. Publicity about the program;
        6. Community partnerships for long term commitment;
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        7. Communications and outreach to communities; and
        8. Retention activities.

     The lottery plan will inevitably fail the underserved groups in Fairfax and surrounding
     counties as it only addresses one of the above areas and addresses even that one
     poorly.


    Coalition for TJHSST Action Proposal                       -   Second-Look
    Semifinalists

    To further improve the rigor of the current TJHSST admission process in screening for
    "hidden" talents, e.g. students who might have lower GPA or perform poorly on
    standardized tests but otherwise would bring unique value to the TJHSST community
    and benefit from the specialized STEM education at TJ, the Coalition for TJ proposes the
    following program:

    The standardized test is to be administered in the same manner and with the same
    requirements as of now (3.0 GPA and Algebra 1 required). Prior to the release of the list
    of semifinalists, each of the Fairfax County's 26 middle schools (as well as the other
    feeder counties and private schools) would have a "second look" and each public middle
    school would be ensured of having at least five (5) semifinalists. This would total
    approximately 115 Second-Look seats and make up 13-15% of the incoming TJHSST
    semifinalist class from the FCPS and home school cluster. Significantly, the Second-Look
    program would materially increase both the geographic and the socioeconomic diversity
    at TJHSST and should reduce the rate of offerees declining admission due to lack of
    peers from the same home school. Note that we chose five (5) so as to cause the
    number of Second-Look Semifinalists to be approximately 15% of the semifinalist pool.

    For middle schools that have four (4) or more semifinalists named following the
    administering of the standardized test, the principals and staff of those schools will have
    the opportunity to name one additional "Second-Look Semifinalist"     --   presumably
    someone extraordinary who nonetheless did not qualify based upon the standardized
    test. Written justification is required for recommending a Second-Look Semifinalist. As a
    result, each middle school will have a minimum of one Second-Look Semifinalist.

    For middle schools with three (3) or fewer semifinalists (under-represented schools), the
    principals and staff of those schools will have the opportunity to name a sufficient
    number of "Second-Look Semifinalists" to bring the number of semifinalists from each
    middle school to five (5). For example, a school with three (3) semifinalists after the
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     administering of the standardized test may name two (2) additional Second-Look
     Semifinalists. At the other extreme, a middle school with no semifinalists following the
     administering of the standardized test would be permitted to appoint up to five (5)
     additional Second-Look Semifinalists.

     The list of the Second-Look Semifinalists and justification for choosing these students will
     need to be submitted to the TJHSST admission office for final approval.

    Second-Look Semifinalists would be deemed to receive a specified and pre-agreed
    "bump-up" on their score in the standardized test based on the amount necessary to
    raise the average score of the Second-Look Semifinalists to the average score of all
    semifinalists, although each Second-Look Semifinalist will be awarded an identical
    bump-up to their base score. For example, if the average test score of all the
    Second-Look Semifinalists is 11 points below the average of the other semifinalists, then
    each Second-Look Semifinalist will be awarded an identical 11 point bump-up to their
    base score as an additional reward for earning the special recommendation of their
    principals and teachers.

    There will be no distinction made between standardized test semifinalists and
    Second-Look Semifinalists in the list of overall semifinalists released to the public. The
    names of Second-Look Semifinalists will not be released to the public.

    At this point, all semifinalists (both standardized test semifinalists and Second-Look
    Semifinalists) will be given identical problem-solving essays and be subject to a holistic
    process for selecting the admitted class at TJ. We propose to conduct an individualized
    and qualitative assessment of each applicant, with the goal of identifying a pool of
    finalists that includes the top STEM achievers from all socio-economic backgrounds. For
    example, underrepresented background and moral traits to overcome these barriers are
    evaluated favorably and weighted in the admission process methods used by many top
                                                                  -




    universities in the country and merit-based award selection processes at regional and the
    national levels.

    In summary, we strongly advocate for a plan to increase the diversity representation at
    TJHSST without compromising the academic rigor of TJ.


    Coalition for TJHSST Additional Recommendations

    The Coalition for TJ also proposes the following additional actions, in accordance with
    some well-established federal guidelines that have proven successful in increasing
    diversity while preserving excellence:
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        1.   Eliminate the source of inequity from the Advanced Academic Program

     Elementary students admitted to the AAP program have a higher chance to be ready for
    the rigorous standards of TJHSST education, yet underserved groups are
     underrepresented in the AAP program. To select students for the AAP program, FCPS
    administers the Naglieri Nonverbal Test (NNAT) to all registered students. The NNAT was
    designed to test the nonverbal non-knowledge-based critical thinking ability in young
    children; it is also race-blind according to research. The data show that when Black and
    Hispanic students do submit intelligence tests, they are just as likely to gain admission as
    their white and Asian counterparts, per AP analysis. However, the analysis also pointed
    out that "fewer than 50 Black and Hispanic second-graders have filed successful
    appeals.

    That is less than 3 percent of the 1,737 second-graders admitted through the appeals
    process."

    We propose to eliminate the appeal process and instead offer additional opportunities
    to retake the NNAT test at FCPS when the test is administered again.

    Policy and awareness of the opportunity should be publicized on FCPS and
    communicated by the gifted resource teachers, with special attention paid to cover the
    underserved population.

    Each school should have at least one gifted resource teacher and proper teacher
    training for the AAP process should be in place in underserved areas.

       2. Sponsor summer and/or after-school STEM activities for underserved
             populations

    STEM-focused extracurricular activities are highly desired in the holistic admission
    process of TJHSST. To optimize exposure to the underserved population, we propose to
    offer extracurricular resources to underserved students, either through grants/aids to
    attend STEM-based summer camps or after school activities. We propose to engage
    TJHSST students and faculty to offer free resources for the underserved population, such
    as open lab sessions in the summer on a volunteer basis. One suggestion is to engage
    the infrastructure of the previous VISION and   LJiEJ   programs and make this a long-term
    sustainable effort. Considering having FCPS fund these activities.

       3. Open additional channels in TJHSST admission to screen for underserved
             populations
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     For example, FCPS should start a diversity enrichment program that invites the
     underserved population to apply for entry to TJHSST. A holistic review process, as
     exemplified in the Second-Look Semifinalist proposal should still be present to ensure
    that the selected students, with proper training and support, could succeed in STEM.

        4.   Enhance targeted recruitment activities

     Enhance recruiting at schools containing more underrepresented groups, engage
    diversity organizations, local chapters of professional organizations, and role models of
    the underserved community in the recruiting and publicizing of TJHSST admissions.
    There should be Spanish language outreach, text messaging, and social media-based
    outreach. Consider partnering with professional sports organizations to increase
    underrepresented outreach    --   the Wizards and DC United (popular in Latin America) for
    example.

        5. Develop retention activities

    Although there are no accurate statistics, case reports showed that some underserved
    students did drop out of TJHSST due to paramount pressure to maintain a threshold
    grade (the current requirement of TJHSST is that accumulative GPA has to be >3.0). To
    further enrich the diversity plan, FCPS must engage peer mentoring resources and
    adequate faculty support to identify and address the needs of admitted underserved
    students. Peer-mentoring is already largely in place in TJHSST. Efforts should be made to
    provide full coverage to each individual underserved student with periodic evaluation of
    the mentoring outcomes. Provide summer classes for students who need academic
    support that is funded by FCPS (e.g., students with grades lower than "C" or so), similar to
    this program by the Virginia Beach City Public Schools, which is completely free to
    students with academic needs including free transportation.

       6. Increase diversity of staff

    A fundamental reason for the lack of interest in TJHSST and AAP programs is the lack of
    diversity among the staff. In particular, there should be more Spanish-speaking staff.
    There have been calls for decades for FCPS to address this issue in its hiring practices,
    without adequate progress. Unless underserved communities are represented, they will
    feel voiceless and will be less likely to apply to TJHSST and AAP programs. The holistic
    process that FCPS is formulating is a majority view of the holistic process and is going to
    be very different from a holistic view from a more diverse administration perspective.

       7. Free FCPS TJHSST test preparation fees for low-income households
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    Dr. Brabrand mentioned in the 9/23/2020 town hall meeting that test preparation offered
    by test providers and Fairfax County Public Schools places students from low-income
    households at a disadvantage. The Coalition for TJ has identified several providers,
    such as TJHSST Test Prep and Inspiring Test Preparation, that are willing to offer free
    test TJHSST admission test preparation services for those students at the end of the
    seventh grade with a 3.8 GPA or greater whose families' are considered 'low-income'
    and are eligible for the FCPS school lunch program. The Coalition for TJ recommends
    that FOPS pay for TJHSST Test Preparation for qualified applicants from low-income
    households.

       8. Address anti-private school bias in admission selection

    Each year, at a disproportionate rate, TJHSST denies offers of admission to several
    qualified applicants, who made it to the semi finalist round, from private schools that
    have GPAs of 3.8 or higher. TJHSST can increase its diversity increasing the number of
    applicants offered admission from this pool.

       9. Improving oversight for the TJHSST admission process

    A holistic admissions process that will identify the true STEM talent in the Fairfax
    community is needed, and we need to enhance the oversight and continuous monitoring
    of this process by local stakeholders. We echo the Loudoun County School Board's
    position to assemble a regional governing board with key local stakeholders to oversee
    policy change and administration of the TJHSST admission process. An example of this
    is the Regional School Board at Maggie L. Walker Governor's School in Richmond. This
    will help create a stable learning environment at TJHSST and shield current and future
    TJHSST students from dramatic and destructive changes that disregard the best
    interest of the learners at FOPS.

       10. Provide comprehensive support from different aspects

    FOPS needs to collaborate with other agencies to allocate resources to help
    disadvantaged groups. Family is the first education environment for a child, yet too
    many students grow up in broken families, with a lack of parental involvement and
    support, and constantly face abuse and violence. For these students, STEM education
    or getting into TJHSST will be the last thing on their mind.

       11. Enhance proper training with structured support

    Regarding prep classes, there is criticism that TJHSST students are those privileged
    ones who can afford those prep classes and pay their way into TJ. Many don't believe
    that is true. However if such prep classes are believed to be so effective, and can help
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    students to advance, we would highly encourage FCPS to set up similar programs, like
    those Special ED programs with individual learning plans. Such a program would
    provide systematic, structured, and free tutoring programs to help those disadvantaged
    students to advance in STEM.

       12. Allocate TJHSST resources through advanced technology

    We need to think outside the box and seek creative solutions. The trend of distance
    learning and collaboration online is no longer a mystery, but a hard reality. We need to
    invest in advancing technology to enhance distance learning so that more students can
    have access to TJ. We need to give our teachers more freedom to teach, so they can
    leverage their passions and reach out to more students, and we need to give our
    students more freedom in course selections, so they can feed their curiosity and explore
    their capabilities at the click of their fingertips.

     #TJHSST
